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                   10
                                                    UNITED STATES DISTRICT COURT
                   11
                                                 NORTHERN DISTRICT OF CALIFORNIA
                   12
                                                            OAKLAND DIVISION
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                   14
                        In re Google RTB Consumer Privacy             Master File No. 4:21-cv-02155-YGR-VKD
                   15   Litigation,
                                                                      NOTICE OF FILING OF UPDATED
                   16                                                 REDACTED DOCUMENTS

                   17   This Document Relates to: all actions

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COOLEY LLP
ATTORNEYS AT LAW                                                             GOOGLE’S NOTICE OF FILING OF UPDATED
 SAN FRANCISCO                                                                              REDACTED DOCUMENTS
                                                                                 CASE NO. 4:21-CV-02155-YGR-VKD
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                    1          In connection with the briefing the parties filed in connection with Plaintiffs’ April 19, 2024
                    2   motion for contempt and sanctions, ECF No. 697, Google moved the Court to seal certain portions
                    3
                        of the filed documents. See ECF Nos. 705, 707, 712, 721. In its Order re Sealing Re: ECF Nos.
                    4
                        696, 705, 707, 710, 712, 718, 721 (ECF No. 743, “Sealing Order”), the Court granted Google’s
                    5
                        sealing requests subject to certain exceptions in two documents: Plaintiffs’ Motion for Contempt
                    6

                    7   and Spoliation Sanctions Re Named Plaintiffs Data, ECF No. 705-3, and Exhibit A to the

                    8   Declaration of Jonathan K. Levine Declaration, ECF No. 705-7. Sealing Order at 3-4. Consistent

                    9   with the Sealing Order, updated versions of those documents with the portions as to which the
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                        Court denied Google’s sealing requests unredacted are attached hereto as Exhibits A and B. See
                   11
                        Sealing Order at 4.
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                                                                           Respectfully submitted,
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                   16   Dated: October 11, 2024                            COOLEY LLP

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                   18                                                      By: /s/ Whitty Somvichian
                                                                               Whitty Somvichian
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                                                                           Attorneys for Defendant GOOGLE LLC
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